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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


JOHN DOE,

            Plaintiff,

     v.
                                               Civil Action No. 24-0617 (TJK)
U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT,

            Defendant.



MEMOANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT’S
              MOTION FOR SUMMARY JUDGMENT
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                                         INTRODUCTION

          This case arises from a Freedom of Information Act (“FOIA”) request that Plaintiff, John

Doe made to Defendant, the United States Immigration and Customs Enforcement (“ICE”).

Defendant now moves for summary judgment with respect to the adequacy of its search and its

withholdings pursuant to FOIA Exemptions 5 and 7(E). As discussed below, ICE conducted

adequate searches, properly invoked FOIA exemptions for its withholdings, and has released all

non-exempt information. Accordingly, the Court should grant summary judgment in Defendant’s

favor.

                                          BACKGROUND

          Defendant incorporates herein the attached Defendant’s Statement of Material Facts

(“Def.’s Stmt”) and the accompanying Declaration of Fernando Pineiro (“Pineiro Decl.”).

Nevertheless, for the convenience of the Court, Defendant includes a summary of the facts of this

case below.

          Plaintiff submitted a FOIA request to ICE on October 12, 2023, which was subsequently

updated on November 16, 2023. Def.’s Stmt. ¶ 1. Generally, Plaintiff’s FOIA request seeks

documents and communications relating to disclosures by ICE to third parties regarding Plaintiff’s

pending asylum application. Id. ¶ 2.

          On March 8, 2024, not having received a final response to his FOIA request, Plaintiff filed

a federal Complaint. Id. ¶ 3. Also on March 8, 2024, Plaintiff filed a Motion for a Temporary

Restraining Order to expedite ICE’s production of responsive records. Id. ¶ 4. However, on March

14, 2024, ICE provided Plaintiff with a final response to his FOIA request, and Plaintiff’s aforesaid

motion was consequently dismissed for mootness. Id. ¶ 5. Instantly, Plaintiff exclusively
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challenges the adequacy of ICE’s search, along with the assertion of FOIA Exemptions 5 and 7(E)

to portions of the records responsive to its FOIA request. Id. ¶ 6.

       The ICE FOIA Office is assigned with responsibility for determining, upon receipt of a

FOIA request, which program office(s) are likely to possess records that are potentially responsive

to the received FOIA request. Id. ¶ 7. ICE records are maintained by directorates and leadership

offices such as: the Office of Public Affairs, the Office of Enforcement and Removal Operations,

the Office of Professional Responsibility, the ICE FOIA Office, the Office of the Director, the

Office of the Principal Legal Advisor, and the Chief Financial Officer. Id. ¶ 8.

       Each program office is staffed with a point-of-contact “who is the primary person

responsible for communications between that program office and the ICE FOIA office.” Id. ¶ 9.

“Once the ICE FOIA Office determines the appropriate program offices for a given request, it

provides the [points-of-contact] in each of those program offices with a copy of the FOIA Request

and instructs them to conduct a search for responsive records.” Id. ¶ 10. Upon receipt of potentially

responsive records from the program office’s point-of-contact, the ICE FOIA Office assigns a

FOIA processor to perform a review and to determine whether the records are, in fact, responsive,

and if responsive, whether any redactions should be made pursuant to FOIA or the Privacy Act.

Id. ¶ 14. After review of Plaintiff’s FOIA request, the ICE FOIA Office tasked the Office of the

Principal Legal Advisor, the Office of Enforcement and Removal Operations, the Office of

Professional Responsibility, the Office of Information Governance and Privacy, and the Office of

the Chief Information Officer with conducting a search for responsive records. Id. ¶ 15. The Office

of Information Governance and Privacy and the Office of Professional Responsibility, however,

“responded to the ICE FOIA Office that they would not have responsive records.” Id. ¶ 16. The

Office of Information Governance and Privacy “also declined to search since [the Office of



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Enforcement and Removal Operations] and [the Office of the Principal Legal Advisor] were tasked

to search.” Id. ¶ 17.

        Pursuant to the Office of the Principal Legal Advisor’s search, approximately 1,453 pages

of potentially responsive records were recovered. After these records were processed, all

responsive, non-exempt records were provided to Plaintiff in the final production of March 14,

2024. Id. ¶ 18. Pursuant to the Office of Enforcement and Removal’s search, approximately 160

pages of potentially responsive records were recovered. After these records were processed, all

responsive, non-exempt records were provided to Plaintiff in the final production of

March 14, 2024. Id. ¶ 19.

        Pursuant to FOIA Exemption 5, ICE withheld information pursuant to the deliberative

process privilege and the attorney-client privilege. Id. ¶¶ 20. Pursuant to FOIA Exemption 5’s

deliberative process privilege, ICE withheld from disclosure—among other things—“draft

documents and emails containing pre-decisional opinions of agency employees deliberating on

what action the agency should take.” Id. ¶ 21. Pursuant to FOIA Exemption 5’s attorney-client

privilege, ICE withheld from disclosure—among other things—“email exchanges between ICE

attorneys and other ICE components where ICE attorneys provide confidential legal advice to their

clients.” Id. ¶ 22.

        ICE is a law enforcement agency under the purview of the Department of Homeland

Security. Id. ¶ 24. Plaintiff’s FOIA requests sought law enforcement records. Id. ¶ 25. Pursuant

to FOIA Exemption 7(E), ICE withheld information that identified law enforcement codes

contained in screenshots of databases. Id. ¶ 26.




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                                    STANDARDS OF REVIEW

       A.      Motion for Summary Judgment Under Rule 56

       Under Federal Rule of Civil Procedure 56, a court will grant summary judgment when “the

movant shows that there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A fact is “material” when it “might affect the

outcome of the suit under the governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). An issue is “genuine” if “the evidence is such that a reasonable jury could return a verdict

for the nonmoving party.” Id.

       B.      Summary Judgment in the FOIA Context Generally

       “FOIA cases typically and appropriately are decided on motions for summary judgment.”

Ullah v. CIA, 435 F. Supp. 3d 177, 181 (D.D.C. 2020) (internal quotation marks omitted).

       An agency is entitled to summary judgment regarding its search if the agency has

conducted a search “reasonably calculated to uncover all relevant documents.” Weisberg v. U.S.

Dep’t of Justice, 705 F.2d 1344, 1351 (D.C. Cir. 1983). “[A] search need not be perfect, only

adequate, and adequacy is measured by the reasonableness of the effort in light of the specific

request.” Meeropol v. Meese, 790 F.2d 942, 956 (D.C. Cir. 1986). The adequacy of an agency’s

search does not turn on whether the requested information is found, but instead is measured by a

“standard of reasonableness.” Weisberg, 705 F.2d at 1351. That is, the agency must show “that it

made a good faith effort to conduct a search for the requested records, using methods which can

be reasonably expected to produce the information requested.” Oglesby v. Dep’t of the Army,

920 F.2d 57, 68 (D.C. Cir. 1990).

       The agency must explain the “scope and method of the search” in “reasonable detail[,]”

but need not provide “meticulous documentation [of] the details of an epic search.” Perry v. Block,



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684 F.2d 121, 127 (D.C. Cir. 1982). “At the summary judgment stage, . . . the court may rely on a

reasonably detailed affidavit, setting forth the search terms and the type of search performed, and

averring that all files likely to contain responsive materials (if such records exist) were searched.”

Oglesby v. U.S. Dep’t of Army, 920 F.2d 57, 68 (D.C. Cir. 1990); see DeBrew v. Atwood, No. 12-

5361 (June 30, 2015).       An agency’s affidavits describing its FOIA searches are afforded

“substantial weight” (see, e.g., Meeropol v. Meese, 790 F.2d 942, 954 (D.C. Cir. 1986)) and “a

presumption of good faith, which cannot be rebutted by ‘purely speculative claims about the

existence and discoverability of other documents.’” SafeCard Servs., Inc. v. SEC, 926 F.2d 1197,

1200 (D.C. Cir. 1991).

       Moreover, “[t]o withhold a responsive record, an agency must show both that the record

falls within a FOIA exemption, 5 U.S.C. § 552(b), and that the agency ‘reasonably foresees that

disclosure would harm an interest protected by [the] exemption,’ id. § 552(a)(8)(A)(i)(I).”

Machado Amadis v. Dep’t of State, 971 F.3d 364, 370 (D.C. Cir. 2020). “The agency may carry

[the burden of establishing that a claimed exemption applies] by submitting affidavits that

‘describe the justifications for nondisclosure with reasonably specific detail, demonstrate that the

information withheld logically falls within the claimed exemption, and are not controverted by

either contrary evidence in the record nor by evidence of agency bad faith.’” Citizens for Resp. &

Ethics in Wash. v. Dep’t of Just., 746 F.3d 1082, 1088 (D.C. Cir. 2014). “Agency affidavits

sometimes take the form of a ‘Vaughn index,’ but there is ‘no fixed rule’ establishing what such

an affidavit must look like[.]” Id. (citation omitted).

       Finally, “FOIA provides that ‘[a]ny reasonably segregable portion of a record shall be

provided to any person requesting such record after deletion of the portions which are exempt.’”

Machado Amadis, 971 F.3d at 371 (quoting 5 U.S.C. § 552(b)). “[The D.C. Circuit has] held that



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district courts cannot approve withholding exempt documents ‘without making an express finding

on segregability.’” Id. “An agency may satisfy [its segregability] obligation by ‘(1) providing a

Vaughn index that adequately describes each withheld document and the exemption under which

it was withheld; and (2) submitting a declaration attesting that the agency released all segregable

material.’” Jud. Watch v. Dep’t of Def., No. 19-1384 (DLF), 2021 WL 270503, at *6 (D.D.C.

Jan. 27, 2021). “The segregability requirement does not apply to non-exempt material that is

‘inextricably intertwined’ with exempt material, and agencies are entitled to a presumption that

they disclosed all reasonably segregable material[.]” Id. (citation omitted).

                                          ARGUMENT

       As discussed below, the Court should grant judgment in Defendant’s favor because it

conducted adequate searches, properly invoked exemptions for its withholdings, and released all

non-exempt responsive records.

       A.      ICE Conducted an Adequate Search for Responsive Records

       ICE fulfilled its obligation to search for records responsive to Plaintiff’s FOIA requests.

An agency is entitled to summary judgement in a FOIA case with respect to the adequacy of its

search if it shows “‘that it made a good faith effort to conduct a search for the requested records,

using methods which can be reasonably expected to produce information requested.’” Clemente

v. FBI, 867 F.3d 111, 117 (D.C. Cir. 2017) (quoting Oglesby v. Dep’t of Army, 920 F.2d 57, 68

(D.C. Cir. 1990)). “An agency fulfills its obligations under FOIA if it can demonstrate beyond

material doubt that its search was ‘reasonably calculated to uncover all relevant documents.’”

Valencia-Lucena v. U.S. Coast Guard, 180 F.3d 321, 325 (D.C. Cir. 1999) (quoting Truitt v. Dep’t

of State, 897 F.2d 540, 542 (D.C. Cir. 1990)).




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       A search is not inadequate merely because it failed to “uncover[] every document extant.”

SafeCard Servs., 926 F.2d at 1201; see Iturralde v. Comptroller of Currency, 315 F.3d 311, 315

(D.C. Cir. 2003) (“The adequacy of a FOIA search is generally determined not by the fruits of the

search, but by the appropriateness of the methods used to carry out the search.”); Jud. Watch, Inc.

v. Rossotti, 285 F. Supp. 2d 17, 26 (D.D.C. 2003) (“[p]erfection is not the standard by which the

reasonableness of a FOIA search is measured”). It is appropriate for an agency to search for

responsive records in accordance with the manner in which its records systems are indexed.

Greenberg v. Dep’t of Treasury, 10 F. Supp. 2d 3, 13 (D.D.C. 1998). FOIA does not require that

an agency search every division or field office on its own initiative in response to a FOIA request

if responsive documents are likely to be located in a particular place. Kowalczyk v. Dep’t of Just.,

73 F.3d 386, 388 (D.C. Cir. 1996); Marks v. Dep’t of Justice, 578 F.2d 261, 263 (9th Cir. 1978).

Nor does FOIA require that an agency search every record system. Oglesby, 920 F.2d at 68.

       Where an agency affidavit attests that a reasonable search was conducted, the agency is

entitled to a presumption of good faith. Defenders of Wildlife v. Dep’t of Interior, 314 F. Supp.

2d 1, 8 (D.D.C. 2004). “To meet its burden, the agency may submit affidavits or declarations that

explain in reasonable detail the scope and method of the agency’s search.” Defenders of Wildlife

v. U.S. Border Patrol, 623 F. Supp. 2d 83, 91 (D.D.C. 2009). Applying these principles, ICE is

entitled to summary judgment with respect to the adequacy of its search.

       Here, there is no material doubt that Defendant fulfilled its obligations under the FOIA and

performed adequate searches for records responsive to Plaintiff’s FOIA request. See Pineiro Decl.

¶¶ 15-35; see also Budik v Dep’t of Army, 742 F. Supp. 2d 20, 30 (D.D.C. 2010) (“the agency must

show that it made a good faith effort to conduct a search for the requested records, using methods

which can be reasonably expected to produce the information requested”) (quoting Oglesby,



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920 F.2d at 68). The record reflects that after receipt of Plaintiff’s FOIA Request, ICE employees

stationed in the relevant program offices familiar with the types of records sought by Plaintiff

searched the locations that were most likely to yield responsive records. Pineiro Decl. ¶¶ 25-35.

Thus, the searches conducted were reasonable. ICE has produced the records located pursuant to

these searches that were responsive to the FOIA requests, asserting withholdings to certain records.

Iturralde, 315 F.3d at 315.

       As such, ICE conducted a search “reasonably calculated” to locate the records responsive

to Plaintiff’s FOIA request. Truitt, 897 F.2d at 542. ICE “made a good faith effort to conduct a

search for the requested records, using methods which can be reasonably expected to produce

information requested.” Clemente, 867 F.3d at 117. Accordingly, ICE is entitled to summary

judgment with respect to the adequacy of its search.

       B.      ICE Properly Invoked FOIA Exemptions for Their Withholdings

               1.      Exemption 5

       Exemption 5 exempts from disclosure “inter-agency or intra-agency memorandums or

letters that would not be available by law to a party other than an agency in litigation with the

agency.” 5 U.S.C. § 552(b)(5). “Exemption 5 ‘incorporates the traditional privileges that the

Government could assert in civil litigation against a private litigant’—including the presidential

communications privilege, the attorney-client privilege, the work product privilege, and the

deliberative process privilege—and excludes these privileged documents from FOIA’s reach.”

Loving v. Dep’t of Def., 550 F.3d 32, 37 (D.C. Cir. 2008).

       “To fall within the [deliberative process] privilege, a document must be predecisional and

deliberative.” Machado Amadis, 971 F.3d at 370. “Documents are predecisional if they are

generated before the adoption of an agency policy, and deliberative if they reflect the give-and-

take of the consultative process.” Id. (internal quotation marks omitted). The deliberative process
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privilege “protects debate and candid consideration of alternatives within an agency, thus

improving agency decisionmaking.” Id. (internal quotation marks omitted). “The deliberative

process privilege incorporated into FOIA Exemption 5 allows agencies to withhold ‘documents

reflecting advisory opinions, recommendations and deliberations comprising part of a process by

which governmental decisions and policies are formulated.’” Jud. Watch, 2021 WL 270503 at *2.

        Further, “[t]he attorney-client privilege protects confidential communications from client

to attorney, and from attorney to client.” Pub. Employees for Envtl. Responsibility v. EPA, 211 F.

Supp. 3d 227, 230 (D.D.C. 2016). “Without protections for attorney-client communications,

agency officials might not share information with their counsel in the first place and would

consequently be deprived of sound legal advice.” Id. “The [attorney-client] privilege applies only

to ‘[c]onfidential disclosures by a client to an attorney made in order to obtain legal assistance,’

and to an attorney’s ‘communication [to the client] based on confidential information provided by

the client[.]’” Id. at 231 (citation omitted). “In this context, the ‘client’ is the agency and its

officials.” Id. “And those officials may be either ‘high-level agency personnel’ or ‘lower-echelon

employees.’” Id.

        Accordingly, pursuant to Exemption 5, ICE withheld certain information, including

information protected by: (1) the deliberative process privilege, see Pineiro Decl. ¶¶ 39-42, and

(2) the attorney-client privilege. See id.

        With regard to the deliberative process privilege, ICE withheld “draft documents and

emails containing pre-decisional opinions of agency employees deliberating on what action the

agency should take.” Id. ¶ 41. With regard to the attorney-client privilege, ICE withheld “email

exchanges between ICE attorneys and other ICE components where ICE attorneys provide

confidential legal advice to their clients.” Id. ¶ 42. Additional information about ICE’s



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withholdings based upon the deliberative process privilege, attorney-client privilege, and the

foreseeable harm that would result from disclosure is detailed in ICE’s Vaughn indices

accompanying the Pineiro Declaration. See generally id., Ex. A.

               2.      Exemption 7(E)

       Under Exemption 7(E), FOIA exempts from disclosure “records or information compiled

for law enforcement purposes, but only to the extent that the production of such law enforcement

records or information . . . would disclose techniques and procedures for law enforcement

investigations or prosecutions, or would disclose guidelines for law enforcement investigations or

prosecutions if such disclosure could reasonably be expected to risk circumvention of the law.”

5 U.S.C. § 552(b)(7)(E). “Under [D.C. Circuit] precedents, Exemption 7(E) sets a relatively low

bar for the agency to justify withholding: ‘Rather than requiring a highly specific burden of

showing how the law will be circumvented, exemption 7(E) only requires that the [agency]

demonstrate logically how the release of the requested information might create a risk of

circumvention of the law.’” Blackwell, 646 F.3d at 42. Exemption 7(E) “exempts from disclosure

information that could increase the risks that a law will be violated or that past violators will escape

legal consequences, not merely information that expressly instruct[s] [potential violators] how to

break the law.” Myrick v. Johnson, 199 F. Supp. 3d 120, 124 (D.D.C. 2016) (internal quotation

marks omitted). “Exemption 7(E) is properly invoked for information and techniques that are

secret and ‘not generally known to the public.’” Id.

       ICE is a law enforcement agency. Pineiro Decl. ¶ 44. Plaintiff’s FOIA requests sought

law enforcement records. Id. ¶ 45.

       Pursuant to Exemption 7(E), ICE withheld information that identified law enforcement

codes contained in screenshots of databases. Pineiro Decl. ¶ 47. Additional information about

ICE’s withholdings based upon Exemption 7(E) that would result from disclosure is detailed in
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the Vaughn indices accompanying ICE’s declaration. See generally id., Ex. A. Release of the

information withheld pursuant to Exemption 7(E) would hinder removal operations due to the

actions of bad actors who would obtain access to confidential law enforcement sensitive

information and intelligence. Id.; see also Pineiro Decl. ¶ 48. As such, the Court should conclude

that Defendants appropriately withheld information under Exemption 7(E).

       C.      Defendants Released All Reasonably Segregable Information

       While an agency may properly withhold records or parts of records under one or more

FOIA exemptions, it “must release ‘any reasonably segregable portions’ of responsive records that

do not contain exempt information.’” Agrama v. IRS, 282 F. Supp. 3d 264, 275 (D.D.C. 2017);

see 5 U.S.C. § 552(b) (requiring “any reasonably segregable portion of a record shall be provided

to [the requester] after deletion of the portions which are exempt”). Non-exempt portions of a

document “must be disclosed unless they are inextricably intertwined with exempt portions.”

Mead Data Cent., Inc. v. U.S. Dep’t of Air Force, 566 F.2d 242, 260 (D.C. Cir. 1977). Before

approving the application of a FOIA exemption, district courts must make specific findings of

segregability regarding the documents to be withheld. Summers v. Dep’t of Just., 140 F.3d 1077,

1081 (D.C. Cir. 1998). Agencies are entitled to a presumption that they complied with the

obligation to disclose reasonably segregable material. Boyd v. Crim. Div. of U.S. Dep’t of Just.,

475 F.3d 381, 391 (D.C. Cir. 2007).

       Here, ICE carefully reviewed the responsive records on a line-by-line basis to identify

reasonably segregable, non-exempt information. Pineiro Decl. ¶ 53. ICE each determined that all

information withheld either was exempt from disclosure or was so intertwined with protected

material that segregation was not possible without revealing the underlying protected material. Id.

¶ 54. ICE produced all the segregable, non-exempt information in the requested records. Id.



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Accordingly, the Court should conclude that Defendants have satisfied their obligation to disclose

any reasonably segregable information.

                                         CONCLUSION

       For all these reasons and those in the accompanying declaration, Defendant respectfully

requests that summary judgment be granted in their favor.


Dated: September 2, 2024                     Respectfully submitted,
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